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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Manuel P. Asensio, individually and as the parent
of Eva Asensio, a minor child,

Plaintiffs,
-against- 18 CV-10933

Janet DiFiore, Chief Judge of New York
State; Barbara Underwood, Attorney General
of New York State Andrew M. Cuomo,
Governor of New York State; Adetokunbo O.
Fasanya, New York County Family Court
Magistrate; and Emilie Marie Bosak,
individually,

Defendants.

 

PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS:
AFFIDAVIT OF FACTUAL RESPONSES TO
STATE DEFENDANTS’ FALSE ASSERTIONS IN OPPOSITION
1. The Plaintiff, Manuel P. Asensio, has reviewed the Memorandum of Law in Support of
State Defendants’ Motion to Dismiss the Complaint dated February 14, 2019 (“State Defendants’
Memorandum”). The actions taken by the State Defendants that are the subject of this complaint
are entirely outside of any conceivable authorized judicial or state act, in clear absence of subject
matter jurisdiction or personal jurisdiction over the Plaintiff. They are outside of any normal
function of a judge or a state official or normal acts performed by a judge or how parties deal

with a normal judge. The Plaintiff's Motion 1 that the presiding judge has refused to hear deals

with the State Defendants’ lack of state purpose and clear absence of jurisdiction.

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2. This affidavit is filed in opposition to the State Defendants’ Memorandum and Motion
to Dismiss. This affidavit demonstrates that the factual allegations that the State Defendants used
as the foundation for the legal arguments contained in State Defendants’ Memorandum are false
and unresponsive. The State Defendants created their own allegations that do not address any of
the allegations, facts, factors or circumstances contained in the complaint. The State Defendants
simply completely ignore the Plaintiff's case and its causes of action. The State Defendants’
most important fabrication is that any litigation occurred in New York State that is applicable to

this complaint.

3. The State Defendants’ actions could only have been performed by colluding with
Defendant Bosak. The plain and simple fact is that New York State did not allow any kind of
due process, opposition or litigation concerning civil rights or domestic relations:!
a. against Defendant Bosak for having colluded with Defendant Fasanya on
December 3, 2013 to cause the Plaintiffs false arrest which charges were dismissed
in the interest of justice
b. against Defendant Fasanya for having colluded with Defendant Bosak to protect
her from disclosure of her financial triangle with Stefano Chitis, her paramour, and
Susan Moss, one of her attorneys, in order to steal $444,688.22 from the Plaintiff
c. against Defendant Fasanya for fabricating fee orders without the slightest iota of

authority or jurisdiction, or legitimate reason or purpose

 

' The complaint intentionally avoided using any domestic relations grievances as a cause of action to avoid any
possible claim that the DRE applies.

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d. against Defendant DiFiore for having protected the collusion between Defendant
Bosak and Defendant Fasanya

e. against the illegal and fabricated January 15, 2016 “interim” suspension

f. against Defendant DiFiore’s authorization and participation in the vicious acts that
needed to be performed by the Defendants in order to execute the Plaintiff's March
22, 2016 arrest”

g. against the June 30, 2017 in-court arrest as part of the use of Carmen Restivo to
steal $99,153.22 from the Plaintiff without the slightest iota of authority or
jurisdiction, or legitimate reason or purpose

h. against Defendant Bosak’s violations of the divorce judgement

i. against Defendant Bosak’s material interference with the Plaintiffs relationship
with his daughter

j. against Defendant Bosak’s creation of an environment where Plaintiff's daughter
was continually exposed to Defendant Bosak’s drug use, sexual promiscuity,
exhibitionism, dangerous conduct and unsavory contacts that violate any principle

of decent or responsible parenting.

4. The State Defendants absurdly misrepresent the Plaintiff's civil rights complaint by claiming
it alleges “that Judge Fasanya and Chief Judge DiFiore committed procedural or substantive
errors of law by improperly issuing orders, and, in the case of Chief Judge DiFiore, failing to

dd 99

supervise Judge Fasanya{‘s] “errors.” ” Nothing could be more remote from the truth. There

were no errors alleged, no allegations that Defendant Fasanya committed any errors nor that

 

> The charges underlying the arrest that were based on their December 29, 2015 fabrications were dismissed in
criminal court and stricken from the family court record.

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DiFiore failed to supervise Defendant Fasanya. On the contrary, the Plaintiff alleges Defendant
DiFiore directed and instructed, and sanctioned, and provided political and legal protection and
cover to Defendant Fasanya, exactly as she is doing in this federal case.

5. Without Defendant DiFiore’s protection Defendant Fasanya could not collude with
Defendant Bosak. He could not have acted dishonestly, violated laws, or ignored the Plaintiff's
civil and legal rights in order to take his property and freedoms. The orders and use of official
positions are not alleged to be “errors.” They are alleged to be criminal acts deliberately executed
in collusion with Defendant Bosak. They could not have been fabricated any other way. They
were all fabricated after the Plaintiff surrendered his hard-fought win over Defendant Bosak’s
motion to dismiss and after he withdrew. Thus, they were all unilateral fabrications by the State
Defendants in clear absence of jurisdiction over the Plaintiff. They were entered long after the
Plaintiff withdrew and entered without an iota of subject matter or personal jurisdiction. There

only basis is Defendant Bosak’s wants, will and desires. They are unilateral acts having nothing

to do with normal acts performed by a judge or how parties deal with a normal honest judge.

6. Defendant DiFiore is the principle defendant. Defendant Fasanya is only a user of her
extortion scheme. It is an illegal scheme that exploits citizens by fabricating acrimony. Since
May 15, 2014, the Plaintiff has been threatening the existence of Defendant DiFiore’s corrupt
and illegal intimidation scheme. In order to retaliate against the Plaintiff and defend her scheme,

Defendant DiFiore seized direct control of 23 state judges that performed 9 different illegal

 

5 Defendant DiFiore has directly involved three New York federal judges, Robert Katzmann, Ronnie Abrams and

Katherine Failla, and a fourth indirectly, Collen McMahon, in her scheme to plant a slanderous story about the Plaintiff

and this case in the Daily News. This outrageous misconduct is a part of a plan to attack the Plaintiff and to conceal
New York State’s operation of a $350,000,000 a year scheme political extortion process affecting millions of citizens
a year.

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functions‘ in her retaliation and defense operation. She used extreme methods that personally
exposed her and her closest in command. These include Lawrence K. Marks and Fern Fischer.
John W. McConnell, Lucian Chalfen, John P. Asiello, Robert H. Tembeckjian, Michael
Magilano, Sherill Spatz. George D. Marlow and Sharon S. Townsend. This creates evidence of
Defendant DiFiore’s personal involvement and a clear discovery path. The Governor and State
Attorney are hiding behind staffers. They will not be able to do this when they have to respond
to the Plaintiff's questioning based on the undeniable facts. Also, the Plaintiff was able to
examine Lawrence Newman directly and discovered his central role in Defendant DiFiore’s
March 22, 2016 false arrest. This false arrest that was deliberately designed and executed to
justify the illegal January 15, 2016 suspension. The false arrest was based on the December 29,
2015 fabrication created through collusion between Defendants Fasanya and Bosak.

7. The Plaintiff's allegation has nothing to do with errors. The allegation is that Defendant
DiFiore is deliberately allowing family court judges to use intimidation to exploit good decent
citizens by fabricating so called illegal "interim" suspensions and then imposing the court’s 18-
b lawyers [and their sentiments] on citizens. These government agents are given a free hand to
illegally intrude on the private lives of good private normal families that have broken no law,
done no wrong, or imposed themselves on no other citizens’ rights, They do this for no legitimate
reason and engage in illegal practices of intimating citizens as false agents of the court. The
judges actually charge citizens illegal fees and collect them right in the court room. They order
court employees to assist them, pretending they are engaging in a legal judicial function and

treating parties as a judge.

 

4 These are the 23 judges identified in the Plaintiff's December 13, 2018 disclosure affidavit and do not including
judges involved in policy and staff positions named in the complaint.

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8. Defendant DiFiore is directly responsible for the existence of this illegal scheme. She
operates it without any disclosure, reporting, controls or regulation, without administrative
processes to protect citizens from abuses, theft and kickbacks, or protection for children who are
forced to make in contact with strangers with corrupt motives for no reason. Defendant DiFiore
protects the illegal scheme from being exposed in the media or through appeals or complaints.
With this information and knowledge, the motives underlying Defendant DiFiore's actions in
coordinating and executing the Plaintiff's premeditated and illegal in-court arrest on June
30,2017. This scheme took 6 months to design and operate. To accomplish the June 30, 2017
false arrest, Defendant DiFiore coordinated illegal non-judicial acts by Judge Barbara R.
Kapnick in March 2017, and Judges Ronaldo T. Acosta, Paul G. Fienman, Barbara Jaffe, and
Laura E, Drager during June 2017. This all occurred over three years after his May 15, 2014
withdrawal.

9. The State Defendants open by alleging that “This lawsuit emanates from an acrimonious post-
divorce custody proceeding pending between Plaintiff ... and [Defendant Bosak]in New York City
Family Court. See Bosakv. Asensio, Docket No. F-1461/14A/14B/14C/16D.” This is false.° First,
the “F” Docket is a fabrication that has no bearing or relation to this case other than to illustrate one

of the State Defendants’ illegal money schemes.° Second, there is no pending post-divorce custody

 

5 This false statement is central to the State Defendant’s continuously repeated false claims that “The gravamen of
Asensio’s complaint is that Judge Fasanya’s decisions in his custody proceeding were prejudicial to him and violated
his constitutional rights” and that “the thrust of Asensio’s claims is that certain orders issued in his underlying custody
proceeding violated his constitutional rights.” The Plaintiffs gravamen is that the State Defendants sanctioned
Defendant Fasanya to deliberately act dishonestly, to violate all applicable the laws and to collude with Defendant
Bosak to fabricate jurisdiction that did not and does not exist over the Plaintiff and to use this fabricated jurisdiction
for the corrupt purpose of fabricating the December 29, 2016 allegations and January 15, 2016 “interim” suspension
and fees, as detailed herein and in the Complaint.

® See the opposition to the State Defendants’ reference of a bar below.

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proceeding, nor can there be as demonstrated by the blatant collusion between the State Defendants
and Defendant Bosak in this federal case. Third, the State Defendants ignore the simple fact that
Defendant Bosak is responsible for her conduct to the Plaintiff as his custodial parent of their
daughter; thereby her joining the State Defendant is evidence of her corrupt motives and proves their
collusion.’ The collusion between the State Defendants and Defendant Bosak in this federal case is
a part of their scheme to fabricate acrimony. Other than the collusion with criminal intentions against
the Plaintiff's civil rights the underlying case would have been a routine, normal, run-of-the-mill,
insignificant matter. Without collusion, it could have been and can be still be happily and peacefully
settled without costs or other burdens. The acrimony in this lawsuit emanates from the State
Defendants’ reliance on the domestic relations exception to Article III jurisdiction, or as the federal
judges call it, an exception to federal subject matter jurisdiction, and fabricated immunity claims, to
operate a scheme that converted the Plaintiff's non-custodial parent post-divorce judgment custody
petitions into an acrimonious matter and an illegal fee and civil rights violation scheme. There has
been no proceeding in New York State since May 15, 2014 when the Plaintiff withdrew and
commenced his investigation and actions in New York State against the State Defendants, after
which the State Defendants commenced their retaliation against the Plaintiff. This lawsuit emanates
from the State Defendant’s corrupt acts to protect Defendant Fasanya’s collusion with Defendant
Bosak and their retaliation against the Plaintiff. This case emanates from the State Defendants’
absolute denial of all of the Plaintiff's due process and legal rights in New York State for the purpose

of taking his private property and his most comprehensive and unilateral civil rights, liberties and

 

7 According to the State Defendants’ motion to dismiss, “After two years of litigation, the parties reached an agreement
over the terms of their divorce in August 2013, and entered into a stipulation of settlement. Id. Under this stipulation
of settlement, the parties agreed that Bosak would have legal custody and final decision-making authority for E.A.,
subject to Asensio’s rights regarding consultation, as well as primary residential custody, subject to Asensio’s
parenting time. See id. Ex. C at 3, NYSCEF Doc. No. 85.” In fact, the Stipulation and judgement incorporates the
parties’ contractual agreements that contains 10 mandates for peaceful full, conflict-free co-parenting.

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freedoms. This lawsuit emanates from the State Defendants’ collusion with Defendant Bosak to
manufacture the illegal January 15, 2016 so called “interim” suspension® based on their December
29, 2015 fabrications and false March 22, 2016 arrest to justify the illegal suspension.’ The State
Defendants’ continuous used their official positions to control court proceedings and court
employees to execute corrupt acts to abrogate the Plaintiffs legal rights and civil rights by
threatening him with contempt, charging him with contempt and ultimately incarcerating him for the
sole purpose of fabricating income for the courts and perpetuating their understanding with
Defendant Bosak and to serve her every desire and wish.

10. The State Defendants allege that they “isswed an order barring Asensio from bringing any
further litigation challenging his underlying Family Court.” This is false. They issued a bar in a
special proceeding after they removed a judge that was shocked by their scheme and installed Judge
Paul Goetz. He is one of the State Defendants’ rubber-stamp judges. This happened in two of the
Plaintiff's cases. The other was a case where the State Defendants changed the judge was against
Richard Spitzer, a contractor for family court that works with the judges who enter the illegal
“interim” suspensions. However, the State Defendants have judges, like Judges Barbara Jaffe and
Nancy Bannon, who are experienced in colluding with the State Attorney in order to handle

dismissing litigation against family court judges. The State Attorney actually represented Defendant

 

8 New York Judges have no legal authority to enter any parenting suspensions unless they involve serious emergencies
and if so, they are immediately appealable. Defendant Fasanya entered a so called “interim” suspension order with
no evidence or reason in collusion with Defendant Bosak. He made it unappealable trapping the Plaintiff in endless
schemes fabricated jurisdiction and fees without legal or other recourse. The fees are paid to Carmen Restivo and
Richard Spitzer who provide him with services in his public cases, and the courts with special services such as
providing Defendant Bosak counsel in this case that they can control. This occurred in 2016 after the Plaintiff had
withdrawn on May 15, 2019.

° Defendant Bosak colluded with the State Defendants to provide fabricate false testimony about December 29, 2015
and give false testimony to a grand jury. The criminal charges were dropped, and Defendant Bosak’s allegations were
stricken from the family court record. Yet Defendant Fasanya did not vacate the suspension. Almost 4 years later the
State Defendants are still refusing to disclose the evidence presented to the grand jury to protect their collusion.

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Bosak and her attorney in the case where the bar was entered. The bar allowed Defendant Fasanya
to continue an illegal proceeding to go on since 2013 without Defendant Bosak providing the
mandated financial disclosures. Under law, with no possible exception or possibility of a waiver, no
proceeding of any kind can commence until there is compliance with financial disclosure.
Defendant Fasanya colluded with Defendant Bosak for 5 years, ignoring the Plaintiff's constant
motions seeking an order entering the automatic stay that is mandated by law until Defendant Bosak
complied with disclosure. Defendant Fasanya did so to protect Defendant Bosak’s foreign billionaire
funder, Stefano Chitis, and thereby create windfall profits for Susan Moss, an infamous political
operative in New York County Family Court. Ms. Moss has represented Defendant Bosak since
2011, and to cause the Plaintiff harm. This is an excellent example of the corruption that the DRE
and the federal judges’ allowance of fabricated immunity defenses has created in New York.

11. The State Defendants allege that “Over the course of the custody proceeding, the Family
Court, the Honorable Fasanya, presiding, issued a number of interlocutory orders directing Asensio
to pay child-support and attorneys’ fees. Believing these orders to be unconstitutional, Asensio has
brought (and lost) numerous lawsuits in state court challenging their legality.”. This is false. All
of Defendant Fasanya’s orders came after May 15, 2014 when the Plaintiff withdrew. These orders
and the orders that allowed Defendant Fasanya to fabricate jurisdiction were illegal acts fabricated
in clear absence of jurisdiction in collusion with Defendant Bosak and to retaliate against the
Plaintiff for his investigation. Defendant Fasanya repeatedly acknowledged he had no personal or
subject matter jurisdiction over the Plaintiff and that the Plaintiff's appearance in Family Court were
voluntary and that the Plaintiff was free to not appear in his court room. Despite this, Defendant
Fasanya illegally fabricated fees order and orders to show cause and then summarily denied the

Plaintiffs objections, and collected the fees through fraudulent, malicious and criminally fabricated

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summary contempt!® and arrest orders. Defendant DiFiore directly coordinated the unauthorized
dismissals without paying any attention to the law, facts, and factors or circumstances, all of the
Plaintiff actions to vindicate his civil rights.

12. The State Defendants allege that “what began as a lawsuit challenging judicial orders in
New York City Family Court has transformed into a full-throated repudiation of New York’s entire
judicial system.” This is false. This statement is meaningless since the State Defendants do not
disclose the “lawsuit” or “judicial orders” to which they refer. However, this lawsuit is limited to the
discovery of the State Defendants’ organized corrupt process that they used on the Plaintiff and his
post-divorce custody proceedings. This lawsuit concerns the State Defendants collusion with
Defendant Bosak to fabricate orders that are unauthorized by any state statute or rule and entered with
corrupt motives.

13. The State Defendants allege that the Plaintiff, “Lacking any factual or legal support for
his claims, Asensio’s complaint proceeds on the theory that his reasserted claims—which have
already been dismissed on the merits by at least three different courts in eight different lawsuits—
can be resurrected simply by heaping imprecations on the defendants.” This is false. The State
Defendants colluded with Defendant Bosak to steal without any legitimate reason or purpose,
or legal authority, $225,688.22 plus his cost, time and pain and suffering incurred in defend
against their corrupt acts and collusion with his custodial parent, Defendant Bosak. These
actions commenced on May 15, 2014 and intensified from then on. They culminated in a brutal

coordinated effort by members of the Office of Court Administration with the full knowledge

 

'0 Defendant Fasanya’s appointees had no rights in proceedings, which proceedings he fabricated unilaterally. The
appointees therefore had no standing to bring a contempt action against the Plaintiff. The Plaintiff had no obligation
to appear in court or any relationship with the appointee other than the fabricated illegal orders created exclusively to
cause the Plaintiff him harm.

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and approval of Defendant DiFiore to execute the Plaintiff's June 30, 2017 arrest in court by
denying his special trial court proceedings seeking relief from Defendant Bosak’s fabricated
multi-year unauthorized jurisdiction and appellate motions. These corrupt acts trap the Plaintiff
in Defendant Fasanya’s court room who called his counsel into the chambers to threaten
counsel with a grievance, and then surrounded the Plaintiff with 12 court guards, denied his
statutory right to purge the 13" fabricated contempt and arrest order, ignoring his presentation
of a cash surety bond with a notice of appeal, and cashier’s checks, to execute his in court
arrest.

14. The State Defendants allege that “As Asensio sees it, the defendants’ beliefs are “anti-
religious, anti-paternal, anti-family, anti-independence, pro-drug use, and pro-sexual-
promiscuity.” This is a proven fact. The State Defendants have colluded with Defendant Bosak
to remove his daughter from her life long religious studies and church attendance. The
Plaintiff's daughter’s name is Eva, and the Plaintiff taught Eva of profoundly religious deep
meaning of the story of Adam and Eva, original sin and the loss of garden of Eden. The State
Defendants actually colluded with Defendant Bosak to remove the Plaintiff's daughter from
her confirmation classes that were a continuation of her baptism understanding, and her studies
to reconcile with her religion’s rules and moral beliefs, and her studies that proceeded her first
communion with Jesus Christ and his church. The State Defendants sanctioned Defendant
Bosak’s dependence on Stefano Chitis instead of working while she exhibits her drug use and
sexual relations with other men and women on social media. In fact, the State Defendants
colluded with Defendant Bosak to fabricate the December 15, 2015 testimony about alleged
events in New York knowing that she was in Mexico on a beach smoking marijuana and

posting pictures of herself naked on the Instagram at the time. The State Defendants colluded

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with Defendant Bosak to keep the Plaintiff's daughter from the Plaintiff and his close family
that cherishes its Cuban heritage, and have kept her exclusive with Defendant Bosak in an anti-
family environment filled with drugs and promiscuous sex.

15. The State Defendants allege that “Asensio laments that the state judiciary is filled with
“advocates of ideological and political beliefs ... that are unacceptable to the Plaintiff and
opposite of his beliefs,” including “their views of religion, feminism, masculinity, [] family,
and their radical use of government ... for so-called ‘social justice.” This is false. The actual
quote refers to “Defendant DiFiore’s sanctioning ... Carmen Restivo and Richard Spitzer to
engage in prohibited and impressible contact and communications with the Plaintiffs
daughter, Eva.” The Plaintiff has unilateral and comprehensive rights to protect his daughter
for a state judiciary that colludes with private parties it appoints that advocate ideological and
political beliefs about politics, feminism and masculinity and religion and family, licentious
behavior, that are unacceptable to him and opposite from his own.

16. The State Defendants allege that “In March 2014, the Family Court assigned an
attorney, Carmen Restivo, Esq., to represent the interests of E.A. {Eva Asensio, the Plaintiff's
daughter], and in May 2014, held that the parties would be responsible for paying Restivo’s counsel
fees, with Asensio bearing 90% of the cost, and Bosak responsible for 10%... Over the next two
years, Asensio repeatedly refused to pay his share of these fees.” This is false. The Family
Court has no authority to assign an attorney 18-b lawyer unknown and unvetted by the family
in a private family in a private case based on fabricated imposed terms and the Plaintiff
immediately objected, never consented to Ms. Restivo and immediately withdrew when he
witnessed when Ms. Restivo and Defendant Bosak collusion on May 15, 2014.

17. The State Defendants allege that, “in early 2016, Bosak’s counsel sought interim

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attorney’s fees on account of the time and resources that were expended in responding to
Asensio’s numerous motions and applications.” They further allege that the fee request relates
to 3 Article 78 proceedings in the Appellate Division; 18 Applications to the Appellate
Division seeking leave to appeal and a stay; and 7 Motions to the New York Court of Appeals.
This is false. There was no motion for fees in early 2016. All of the actions reference by the
State Defendants occurred in 2017 in Supreme Court and have nothing to do with family court
or any “interim” fee request. The request for fees was part of Defendant Bosak’s Motion to
Dismiss the Plaintiff's custody modification petition. Defendant Bosak lost that motion and
her fee application was dismissed. This occurred after the Plaintiff withdrew in May 15. 2014.
The granting of the Plaintiff's petition for a custody modification was a part of Defendant
Fasanya’s fraudulent scheme to ignore the Plaintiffs withdrawal and objections to Ms.
Restivo. The fact is that Defendant Fasanya colluded with Defendant Bosak to fabricate the
January 15, 2016 “interim” suspension and then fabricated a Sua Sponte fee order with any
basis. Then Defendant DiFiore denied the Plaintiff's motion for leave to appeal this baseless
and illegal order under to stiffen the blow of the illegal suspension.

18. | The State Defendants allege that the Plaintiff “lost everything.” This is also false.
There was no adjudicate. The orders were entered without review. They were entered under
Defendant DiFiore’s blanket statewide December 5, 2016 protection order requiring New York
County Supreme Court and Appellate Court judges to sanction Defendant Fasanya’s collusion
with Defendant Bosak and his illegal, fabricated orders.

19. The State Defendants’ claim the Plaintiff is a “state-court loser” who is attempting to
avoid the “preclusive effect of a New York State court judgment” and who “vehemently

objects to certain judicial orders issued by the Family Court in a post-divorce custody

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proceeding pending in New York City Family Court.” They state that the Plaintiff ‘claims
appear to be based on the theory that the state court lacked subject matter jurisdiction to preside
over his underlying state-court custody proceeding because New York’s judiciary and
executive branches have turned a blind eye to the purported wrongs committed against him”
and that “this Court is not required to accept claims that are just as preposterous, such as
Asensio’s accusation that 119 state officials (including at least 53 state judges) have conspired
to retaliate against him for investigating Judge Fasanya’s alleged wrongdoing.” The 53 judges
didn’t retaliate, they protected Defendants DiFiore and Bosak. Defendant DiFiore allows
Defendant Fasanya to fabricate jurisdiction in order to collude with Defendant Bosak and

retaliate against the Plaintiffs.

20. I, Manuel P. Asensio, swear that I am the Plaintiff in the above cited complaint, and
the affiant in this Affidavit. I swear that I am fully familiar with the facts, factors and
circumstances contained in this affidavit. I solemnly swear that the statements I make are
complete and true to the best of my knowledge including any matters stated upon personal

information and belief.

I do so swear:

Manuel P. Asensio

Plaintiff, Pro Se

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May 10, 2019

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